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                   EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    DR. SAAD ALJABRI,

         Plaintiff,

         v.                                            Civil Action No. 1:20-cv-02146-TJK

    MOHAMMED     BIN    SALMAN               BIN
    ABDULAZIZ AL SAUD, et al.

         Defendants.


                      MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFF’S MOTION FOR ALTERNATIVE SERVICE

        Plaintiff Dr. Saad Aljabri (“Dr. Saad” or “Plaintiff”) respectfully requests that the Court

authorize Plaintiff to serve eleven defendants, all current residents of the Kingdom of Saudi Arabia

(the “Alternative Service Defendants”), through alternative means under Federal Rule of Civil

Procedure (“Rule”) 4(f)(3) and 4(h)(2).1

                                        INTRODUCTION

        On August 6, 2020, Dr. Saad brought this action to hold the defendants accountable for

attempting to reach across international borders, including into the United States, to extrajudicially

kill him. Dkt. 1 (“Compl.”). Defendants’ conduct was aimed at, occurred in, and violated the laws



1
  This motion requests leave to serve Defendants Mohammed bin Salman Bin Abdulaziz Al Saud
(“Defendant bin Salman”), Prince Mohammed Bin Salman Abdulaziz Foundation d/b/a MiSK
Foundation (“Defendant MiSK Foundation”), Bader Alasaker (“Defendant Alasaker”), Saud
Alqahtani (“Defendant Alqahtani”), Ahmed Alassiri (“Defendant Alassiri”), Khalid Ibrahim
Abdulaziz Algasem (“Defendant Algasem”), Mishal Fahad Alsayed (“Defendant Alsayed”),
Bandar Saeed Alhaqbani (“Defendant Alhaqbani”), Ibrahim Hamad Abdulrahman Alhomid
(“Defendant Alhomid”), Saud Abdulaziz Alsaleh (“Defendant Alsaleh”), Mohammed Alhamed
(“Defendant Alhamed”).


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of the United States. Given the current Saudi Arabian residency of the Alternative Service

Defendants, Dr. Saad hereby moves for leave to serve the defendants through alternative means

pursuant to Rule 4(f)(3) and Rule 4(h)(2).2

       Alternative service is necessary in this case.3 Saudi Arabia has refused to accede to the

Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters (the “Hague Convention”). As a result, litigants in the United States have no

choice but to seek alternative means of service for defendants in Saudi Arabia, and courts routinely

authorize alternative service on Saudi-resident defendants under Rule 4(f)(3).4




2
 Because counsel for the Alternative Service Defendants have not yet appeared in this action, Dr.
Saad has been unable to ascertain their position with respect to this motion. See D.C. District
Court Local Rule 7(m); Standing Order ¶ 11(a), ECF No. 5.
3
  Dr. Saad intends to attempt service using other means, but in light of challenges associated with
those means and the Court’s instruction that plaintiffs effect service “promptly,” Standing Order
¶ 3, Dr. Saad is seeking permission to serve process by alternative means under Rule 4(f)(3) and
Rule 4(h)(2) in parallel with these other efforts. See infra Section I.
4
  See Juniper Networks, Inc. v. Bahattab, No. CIV.A. 07-1771 (PLF), 2008 WL 250584, at *1, *2
(D.D.C. Jan. 30, 2008) (permitting service of process by email on resident of Saudi Arabia); de
Leon v. Abudawood, No. 8:18-CV-01030, 2018 WL 6321632, at *4–*5 (C.D. Cal. Oct. 23, 2018)
(authorizing service by email and FedEx to defendants in Saudi Arabia); DE Gazelle Grp., Inc. v.
Tamaz Trading Establishment, No. 6:13-CV-1430, 2014 WL 12639865, at *1, *2 (M.D. Fla. Mar.
19, 2014) (permitting alternative service on defendant in Saudi Arabia via FedEx); Ehrenfeld v.
Salim a Bin Mahfouz, No. 04 CIV. 9641 (RCC), 2005 WL 696769, at *4 (S.D.N.Y. Mar. 23, 2005)
(granting plaintiff leave to effect service of process on defendant in Saudi Arabia by mail to
defendant’s post-office box in Saudi Arabia and mail or FedEx on the defendant’s U.S. and U.K.
attorneys); In re Terrorist Attacks on Sept. 11, 2001, 718 F. Supp. 2d 456, 490 (S.D.N.Y. 2010),
(approving motion to serve defendants in Saudi Arabia by publication); Order Authorizing Service
of Summons by Mail Pursuant to FRCP 4(f)(3) at 1, Sharif v. Int’l Dev. Grp., No. 1:02-cv-05430
(N.D. Ill. Dec. 6, 2002), ECF No. 11 (granting plaintiff’s request for alternative service by mail
because “personal service on the defendants, all of whom are located in Saudi Arabia, is not
practical or reliable and could prove dangerous”); cf. Hollow v. Hollow, 747 N.Y.S.2d 704, 708
(N.Y. Sup. Ct. 2002) (authorizing, under analogous New York law, alternative service of process
on resident of Saudi Arabia by email, international registered air mail, and international mail
standard).


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       Moreover, given the nature of the allegations in this Complaint, personal service poses a

risk of grave harm to the server. This lawsuit received significant attention in the global press,

including in Saudi Arabia.5 Since it was filed, Defendant bin Salman and those working on his

behalf have retaliated against Dr. Saad by disappearing other members of his family and arresting

his former staff. Distressingly, Dr. Saad’s son-in-law—whose torture at the hands of Defendant

bin Salman’s agents was described in detail in paragraphs 152 through 154 of the Complaint—has

been disappeared,6 and Dr. Saad’s brother-in-law was recently arrested at his place of work.

Personal service is not only infeasible but could place other innocent lives in peril.

       Accordingly, Dr. Saad seeks leave to serve the Alternative Service Defendants by sending

the summons and Complaint directly to each defendant’s personal mobile device through

WhatsApp and, in addition, by mail to each defendant’s address. These methods will put the

Alternative Service Defendants on notice of this suit—to the extent they are not already—and are

fully consistent with methods of service in Saudi Arabia.

                                  FACTUAL BACKGROUND

       This defendants in this case attempted to extrajudicially kill Dr. Saad Aljabri. The

Alternative Service Defendants, who participated in this heinous act, include: (1) an individual

who at all relevant times lived and operated in the United States and is believed to have moved to

Saudi Arabia, frustrating service here; (2) residents of Saudi Arabia who routinely operated in the



5
 A respected international news agency, citing “a senior Saudi official,” reported on August 14,
2020 that a response was already being prepared to the Complaint. Anuj Chopra, Ex-Saudi Spy
Boss’s Lawsuit Threatens to Tell All, Agence France-Press, Aug. 14, 2020,
https://asiatimes.com/2020/08/ex-saudi-spy-bosss-lawsuit-threatens-to-tell-all/.
6
  Janice Dickson, Saudi Arabia Detains Another Relative of Former Intelligence Official, Family
in Canada Says, Globe & Mail, Aug. 26, 2020, https://www.theglobeandmail.com/politics/article-
saudi-arabia-detains-another-relative-of-former-intelligence-official/.


                                                  3
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United States through frequent travel to the United States and otherwise; and (3) a Saudi Arabia-

based foundation that operated within the United States to cultivate a network of covert agents

here.

        As described in the Complaint, the Alternative Service Defendants—along with other

defendants7 who, at all relevant times, were residing in the United States and are not subject to this

motion—orchestrated a scheme to lure, hunt, and ultimately kill Dr. Saad to cut off the U.S.

government’s access to a key partner with unique knowledge of the Saudi Royal Court and

Defendant bin Salman, knowledge and access that were perceived to jeopardize Defendant bin

Salman’s efforts to consolidate support in the United States.            As the U.S. government

acknowledged after Dr. Saad filed this Complaint, Dr. Saad has been “a valued partner to the U.S.

Government, working closely with [the United States] to ensure the safety of Americans and

Saudis.”8

        Shortly after filing this Complaint, the Canadian government publicly announced that it

was “aware of incidents in which foreign actors have attempted to monitor, intimidate or threaten

Canadians and those living in Canada.”9 Although officers from the Canada Border Services

Agency thwarted a killing of Dr. Saad in October 2018, the attempted extrajudicial killing has

since continued.




7
 Defendant Yousef Alrajhi, who is not subject to this motion, was personally served in Fairfax,
Virginia pursuant to Rule 4(e) on August 11, 2020. Dkt. 13.
8
  Letter from Ryan M. Kaldahl, Acting Assistant Secretary, Bureau of Legislative Affairs, U.S.
Dep’t of State, to Sen. Patrick Leahy, U.S. Senate 1 (Aug. 6, 2020),
https://twitter.com/hsu_spencer/status/1291766667639496706/photo/1.
9
  Saudi Crown Prince Accused of Sending Hit Squad to Canada, BBC News, Aug. 6, 2020,
https://www.bbc.com/news/world-middle-east-53677869.


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       Defendants are clearly already aware of this litigation, as is evident from their statements

and actions after the Complaint was filed. Shortly after filing this Complaint—which includes

allegations about ongoing efforts to kill Dr. Saad through the United States, Compl. ¶¶ 234–37—

security agencies learned of a new direct threat on Dr. Saad’s life.10 Dr. Saad’s family members

have also been targeted. After filing this Complaint, at Defendant bin Salman’s direction, Dr.

Saad’s son-in-law was disappeared in Saudi Arabia and his brother-in-law was arrested and taken

from the hospital in Saudi Arabia where he worked. And on August 7, 2020—the day after the

filing of the Complaint—Defendant Alhamed joined the social media campaign attempting to cast

Dr. Saad, a close partner of the U.S. Government, as a “traitor” to Saudi Arabia, tweeting “The

homeland is a blessing, traitors cannot appreciate its value. May God protect our leadership and

perpetuate the strength of our country.”11 Replies to Defendant Alhamed’s tweet posted multiple

images from the instant Complaint.12 Other defendants have made overt efforts to hide their

physical location.   For example, days after the filing of the instant Complaint, Defendant

Abuljadayel edited her Twitter profile to remove any reference to her location.13 Plaintiff

attempted to serve Defendants Alhamed and Abuljadayel at their last-known addresses in




10
   Robert Fife & Steven Chase, Former Saudi Intelligence Chief Faces New Death Threat, Globe
& Mail, Aug. 7, 2020, https://www.theglobeandmail.com/politics/article-former-saudi-
intelligence-chief-faces-new-death-threat/.
11
     Mohammed AlHamed (@M7Alhamed), Twitter (Aug. 7, 2020, 4:26 PM),
https://twitter.com/M7Alhamed/status/1291833115074273280 (professionally translated from the
original Arabic language).
12
      See      ‫اﻟﺪوﺣﺔ‬  ‫ﻧﻔﻮد‬    (@nfuodq),   Twitter   (Aug.     7,    2020,    4:34   PM),
https://twitter.com/nfuodq/status/1291835089861705728 (posting images from the Complaint).
13
   Layla Abuljadayel (@drlaylaaj), Twitter, https://twitter.com/drlaylaaj (last visited Sept. 3, 2020)
(removed “Jeddah-Boston-Vancouver” from her Twitter bio).


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Massachusetts, but both defendants appear to have departed the United States.14 All of the

foregoing make alternative service necessary and appropriate in this case.

                                      LEGAL STANDARD

         Rule 4(f)(3) allows service on foreign individuals by “other means not prohibited by

international agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3). The precise method of

service is left to the discretion of the district court, provided it is consistent with constitutional

notions of due process and minimizes offense to foreign law. Bazarian Int’l Fin. Assocs., L.L.C.

v. Desarrollos Aerohotelco, C.A., 168 F. Supp. 3d 1, 13 (D.D.C. 2016). Similarly, Rule 4(h)(2),

which governs service upon a foreign corporation, partnership, or other unincorporated

association, provides that a party may be served outside of the United States “in any manner

prescribed by Rule 4(f) for serving an individual, except personal delivery under [Rule

4](f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2).

         Service under Rule 4(f)(3) is neither “extraordinary relief,” nor a “last resort,” and is

equally appropriate as service under Rule 4(f)(1) and (2). Rio Props., Inc. v. Rio Int’l Interlink,

284 F.3d 1007, 1015 (9th Cir. 2002); accord Bazarian Int’l, 168 F. Supp. 3d at 16 (noting that

“court-directed service under Rule 4(f)(3) is as favored as service available under Rule 4(f)(1) or

Rule 4(f)(2)”). Nor must a plaintiff “first exhaust the methods of service contemplated by Rule

4(f)(1) and (2) before petitioning the Court for permission to use alternative means under Rule

4(f)(3).” Lexmark Int’l, Inc. v. Ink Techs. Printer Supplies, LLC, 295 F.R.D. 259, 260 (S.D. Ohio

2013).



14
   Based on recent social media posts, Defendant Abuljadayel appears to have left Boston and is
attempting to obfuscate her location. Plaintiff is not currently seeking leave to serve her by
alternative means. In addition, Plaintiff’s efforts to locate and serve Defendant Bijad Alharbi, who
traveled to Boston, Massachusetts as part of the hunt for Dr. Saad, are ongoing.

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       The purpose of Rule 4 “is to provide the mechanisms for bringing notice of the

commencement of an action to defendant’s attention and to provide a ritual that marks the court’s

assertion of jurisdiction over the lawsuit.” Hagmeyer v. U.S. Dep’t of Treasury, 647 F. Supp.

1300, 1303 (D.D.C. 1986) (emphasis in original) (citation omitted). The D.C. Circuit applies a

“liberal treatment of service requirements under Rule 4.” Miller v. Holzmann, No. CIV.A. 95-

1231 (RCL), 2007 WL 710134, at *9 (D.D.C. Mar. 6, 2007); accord FTC v. Compagnie de Saint-

Gobain-Pont-A-Mousson, 636 F.2d 1300, 1312 n.61 (D.C. Cir. 1980) (“[T]he provisions of Rule

4 should be liberally construed in the interest of doing substantial justice.”). Courts apply a flexible

standard when determining the appropriate method for alternative service, and the “decision

whether to allow alternative methods of serving process under Rule 4(f)(3) is committed to the

sound discretion of the district court.” See Bazarian Int’l, 168 F. Supp. 3d at 13. Provided the

method of service is consistent with due process and not contrary to international agreements,

courts are empowered to fashion a manner of service that fits the facts and circumstances of the

particular case. See Lagayan v. Odeh, 318 F.R.D. 208, 209–10 (D.D.C. 2016). A method of

service comports with constitutional notions of due process when it is “reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.” Nuance Commc’ns, Inc. v. Abbyy Software

House, 626 F.3d 1222, 1240 (Fed. Cir. 2010) (quoting Mullane v. Cent. Hanover Bank & Trust

Co., 339 U.S. 306, 314 (1950)).

       Courts have approved a “wide range of alternative methods of service.” Compagnie, 636

F.2d at 1312. For example, courts have approved service by email, mail, WhatsApp, social media,

and through counsel. See, e.g., Juniper Networks, Inc. v. Bahattab, No. CIV.A. 07-1771 (PLF),

2008 WL 250584, at *1, *2 (D.D.C. Jan. 30, 2008) (permitting service by email on defendant in



                                                   7
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Saudi Arabia); Mwani v. bin Laden, 417 F.3d 1, 8 (D.C. Cir. 2005) (permitting service by

publication where defendants’ address was not known or easily ascertainable); Rio Props., 284

F.3d at 1017 (approving service by email); L.J. Star Inc. v. Steel & O’Brien Mfg., Inc., No. 2:19-

CV-4527, 2020 WL 1957155, at *4–6 (S.D. Ohio Apr. 23, 2020) (approving service by WhatsApp

and LinkedIn).15

                                             ARGUMENT

           Alternative service is necessary and appropriate in this case. Below, Plaintiff explains (I)

why alternative service is warranted; (II) why the methods proposed are appropriate and authorized

under the Federal Rules; and (III) which methods are available as to each of the Alternative Service

Defendants. Appendix A lists those methods in detail.

      I.          Alternative Service Is Warranted Under the Circumstances of this Case.

           Alternative service is warranted and is the best means to directly serve the Alternative

Service Defendants. Other methods of service under Rule 4(f) are unavailable or impracticable.

           The Kingdom of Saudi Arabia has refused to accede to the Hague Convention, or any other

applicable international treaty that would govern service in this or related litigation, and therefore




15
   See also Fabian v. LeMahieu, No. 4:19-CV-00054-YGR, 2020 WL 3402800, at *3 (N.D. Cal.
June 19, 2020) (authorizing service by email and social media, and collecting cases that have
permitted service by social media); Order at 17, Hassen v. Nahyan, No. 2:09-CV-01106 (C.D. Cal.
July 10, 2012), ECF No. 96 (authorizing service by mail, email, or facsimile on Sheikh Mohamed
bin Zayed, the Crown Prince of Abu Dhabi); Swarna v. Al-Awadi, No. 06 CIV. 4880(PKC), 2007
WL 2815605, at *2 (S.D.N.Y. Sept. 20, 2007) (authorizing service on diplomat by courier and
U.S. mail); Order at 1, Rasheed v. Hussein, No. 1:04-CV-01862 (D.D.C. Sept. 14, 2006), ECF No.
5 (authorizing service of Saddam Hussein through his counsel); Order Granting Mot. to Serve Def.
WikiLeaks by Twitter and Mail at 1, Democratic Nat’l Comm. v. Russian Federation, No. 18-cv-
3501-JGK (S.D.N.Y. Aug. 6, 2018), ECF No. 156 (authorizing service by Twitter).


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service under Rule 4(f)(1)—which allows for service by letters rogatory, the state’s Central

Authority, or by mail unless the state has objected to that method—is unavailable.16

       Service is also likely unavailable under Rule 4(f)(2)(C)(ii), which allows for service

through a mailing sent by the clerk with a signed receipt. On August 21, 2020, Dr. Saad initiated

the process of attempting service under Rule 4(f)(2)(C)(ii) by filing a motion seeking leave to file

Affidavits Requesting Foreign Mailing under seal. Dkt. 9. That motion is currently pending.

Although Dr. Saad intends to attempt service under Rule 4(f)(2)(C)(ii), such attempt is unlikely to

be successful because it requires a signed receipt, which the Alternative Service Defendants could

easily evade. Dr. Saad may also attempt service pursuant to Rule 4(f)(2)(A), which authorizes

service on foreign individuals “as prescribed by the foreign country’s law for service in that

country in an action in its courts of general jurisdiction.” Although the methods proposed here are

fully consistent with the methods prescribed by Saudi law, see generally Declaration of Dr.

Abdullah Alaoudh, those laws could easily be distorted in an absolute monarchy where the

Alternative Service Defendants include an influential member of the royal family and many of the

laws are unwritten.17 In light of these realities and the Court’s instruction that plaintiffs effect

service “promptly,” Standing Order ¶ 3, Dr. Saad is seeking permission to serve process by

alternative methods under Rule 4(f)(3) in parallel with other attempts to ensure prompt service of

all defendants.


16
   U.S. Dep’t of State, Saudi Arabia Judicial Assistance Information, Hague/Inter-American,
https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
Information/SaudiArabia.html; see also Ehrenfeld, 2005 WL 696769, at *2, *4 (granting motion
for alternative service of defendant in Saudi Arabia in part because the country is not a signatory
to Hague Convention).
17
   Muamar Hasan Salameh and Jaida Aboul Fotouh, The Development of Legal Education in the
Kingdom of Saudi Arabia, 11 Fiat Justisia 289, 290 (July-Sept. 2017),
https://jurnal.fh.unila.ac.id/index.php/fiat/article/view/973/975 (“The law in Saudi Arabia can
primarily be described as consolidation of both written and unwritten laws.”).

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       Finally, personal service under Rule 4(f)(2)(C)(i) would be both futile and dangerous. The

Alternative Service Defendants have used covert and deceptive means to carry out an attempted

extrajudicial killing of Dr. Saad. See Compl. ¶¶ 234–37. Effecting personal service in Saudi

Arabia could pose unique and significant dangers to personnel involved. This risk is more than

mere conjecture. In another high-profile case involving service of process in Saudi Arabia, “the

process server hired to serve some of the defendants was apparently murdered during his attempts

to complete service of process for one of the instant lawsuits.” In re Terrorist Attacks on Sept. 11,

2001, 718 F. Supp. 2d 456, 490 (S.D.N.Y. 2010), aff’d on other grounds, 714 F.3d 109 (2d Cir.

2013).18

       Under similar circumstances, courts have readily approved alternative service for

defendants residing in Saudi Arabia because “personal service is not practical or reliable and could

prove dangerous.” Order Authorizing Service of Summons by Mail Pursuant to FRCP 4(f)(3) at

1, Sharif v. Int’l Dev. Grp., No. 1:02-cv-05430 (N.D. Ill. Dec. 6, 2002), ECF No. 11; see also In

re Terrorist Attacks on Sept. 11, 2001, 718 F. Supp. 2d at 490.

     II.        The Proposed Methods of Alternative Service are Consistent with Due Process
                and Reasonably Calculated to Provide Notice to Defendants.

       While the methods proposed in this motion may be considered “alternative” means of

service under the Federal Rules, they are ordinary means of service in Saudi Arabia, and they are

the best means to provide actual and direct notice to each of the Alternative Service Defendants.



18
   The murder of the process server occurred while he was attempting to carry out service of
process in Saudi Arabia. See Aff. of Nelson Tucker, Ex. B to Pls.’ Mot. For Extension of Time
for Service of Process and for Leave to Serve Certain Listed Defs. by Publication Pursuant to
Federal Rule 4(f) ¶ 8, Burnett v. Al Baraka Inv. & Dev’l Corp., No. 1:02-cv-01616 (D.D.C. Mar.
24, 2003), consolidated into In Re Terrorist Attack on September 11, 2001, 03-MDL01570
(S.D.N.Y.), ECF No. 95.


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                A.      Service Through the Messaging Application WhatsApp.

        WhatsApp, a messaging application that allows users to communicate by text and multi-

media message, is routinely used for official government business in Saudi Arabia, including by

the Alternative Service Defendants. It is also widely used as a primary means of mobile text

communications amongst Saudi citizens generally.19 WhatsApp allows users to send documents

on its platform and includes a built-in function that verifies when a message has successfully been

sent, when the message was successfully delivered to the recipient’s phone, and, in some cases,

when the recipient has read the message (known as “read receipts.”).20 It is the digital equivalent

of a “form of mail . . . that requires a signed receipt.” Fed. R. Civ. P. 4(f)(2)(C)(ii).

        Given the Alternative Service Defendants’ documented and habitual use of WhatsApp,

service through WhatsApp will provide actual notice, and forensically confirmable service, to the

Alternative Service Defendants. Using WhatsApp’s built-in tools,21 Plaintiff’s counsel confirmed

that all of the individual Alternative Service Defendants have accessed their WhatsApp accounts

within the 24-30 hours prior to filing this motion and routinely use the WhatsApp application




19
   Facebook and Twitter Top in Number of Users, Over 18 Million Users of Social Media
Programs And Applications In Saudi Arabia, Ministry of Comm’ns & Info. Tech. (Mar. 17, 2016),
https://www.mcit.gov.sa/en/media-
center/news/89698#:~:text=Saudi%20Arabia%20ranked%20first%20among,%2C%20and%2021
%25%20for%20Facebook. (“Saudi Arabia ranked first among Arab countries and second
worldwide in the use of Snapchat. WhatsApp and Facebook had the top rates of social networking
platforms use, with 22% for WhatsApp, and 21% for Facebook.”).
20
   See How to Check Read Receipts, WhatsApp, https://faq.whatsapp.com/android/security-and-
privacy/how-to-check-read-receipts/ (Android); How to Check Read Receipts, WhatsApp,
https://faq.whatsapp.com/iphone/security-and-privacy/how-to-check-read-receipts (iPhone).
21
   WhatsApp allows users to see when other WhatsApp users are currently or were last “Online”
(i.e. had the application open).         See About Last Seen and Online, WhatsApp,
https://faq.whatsapp.com/general/chats/about-last-seen-and-online/?lang=en.


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throughout the course of their day.22 Service by WhatsApp will allow Plaintiff to forensically

document:    (1) successful delivery of the summons and complaint to each of the Alternative

Service Defendants; (2) that each Alternative Service Defendant logged into his account after

service; and (3) unless the “read receipt” feature has been disabled, actual receipt and review of

the summons and Complaint by each Alternative Service Defendant.

       Dr. Saad has personal knowledge of the phone numbers associated with the WhatsApp

accounts of Defendants bin Salman, Alasaker, Alqahtani, and Alassiri.23 Each has used that

platform to contact, communicate with, and at times threaten Dr. Saad. For example, Dr. Saad

engaged in multiple lengthy exchanges with Defendants bin Salman and Alasaker using

WhatsApp. See, e.g., Compl. ¶¶ 128, 130, 132–33, 135–36 (WhatsApp messages between

Defendant bin Salman and Dr. Saad); Compl. ¶¶ 135 (WhatsApp messages between Defendant

Alasaker and Dr. Saad). Dr. Saad has also personally communicated using WhatsApp with

Defendants Alqahtani and Alassiri.


22
  Defendant bin Salman (last utilized WhatsApp on Sept. 11, 2020 at 6:50 PM AST, and has used
WhatsApp at least ten of the last eleven days); Defendant Alasaker (last utilized WhatsApp on
Sept. 11, 2020 at 6:53 PM AST, and has used WhatsApp every day since Sept. 2, 2020); Defendant
Alqahtani (last utilized WhatsApp on Sept. 11, 2020 at 2:37 AM AST); Defendant Alassiri (last
utilized WhatsApp on Sept. 11, 2020 at 7:16 PM AST, and has used WhatsApp every day since
Sept. 1, 2020); Defendant Alhamed (last utilized WhatsApp on Sept. 11, 2020 at 7:13 PM AST,
and has used WhatsApp every day since Sept. 2, 2020); Defendant Algasem (last utilized
WhatsApp on Sept. 10, 2020 at 12:20 PM AST, and has used WhatsApp at least seven of the last
nine days); Defendant Alsayed (last utilized WhatsApp on Sept. 11, 2020 at 6:08 PM AST, and
has used WhatsApp at least seven of the last eight days); Defendant Alhaqbani (last utilized
WhatsApp on Sept. 11, 2020 at 6:05 PM AST, and has used WhatsApp every day since Sept. 1,
2020); Defendant Alhomid (last utilized WhatsApp on Sept. 11, 2020 at 7:01 PM AST, and has
used WhatsApp every day since Sept. 1, 2020); Defendant Alsaleh (last utilized WhatsApp on
Sept. 11, 2020 at 7:15 PM AST, and has used WhatsApp every day since Sept. 1, 2020).
23
   Dr. Saad also proposes to serve Defendants Alasaker, Alqahtani, Alhomid, Alsaleh, and
Alhamed through Signal in addition to WhatsApp. Signal is also an encrypted messaging
application, and these defendants have Signal accounts tied to identical mobile phone numbers as
their WhatsApp accounts.


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       Plaintiff’s counsel has also located publicly available information that documents the

accuracy of the Alternative Service Defendants’ WhatsApp mobile phone numbers. For example,

Defendant Alhomid’s WhatsApp account is linked to

         Defendant Alhamed posted his name and a photograph of himself on his WhatsApp

profile. And the WhatsApp phone numbers for Defendants Algasem, Alsayed, Alhaqbani, and

Alsaleh are linked to their names in publicly available sources.

        Service by WhatsApp minimizes offense to Saudi law. The use of a direct messaging

application is an ordinary means of service of process in Saudi Arabia. A Royal Decree issued by

the King of Saudi Arabia in 2017 authorized service of process through electronic means, including

through WhatsApp messages to an individual’s mobile phone number.24 Declaration of Dr.

Abdullah Alaoudh (“Alaoudh Decl.”) ¶ 5. Text messages, WhatsApp messages, and email to

verified mobile phone numbers and email addresses are “valid and effective” means of service in

Saudi Arabia, just like “other means traditionally recognized by the law,” and are widely used. Id.

¶ 6.

       Accordingly, service by WhatsApp is appropriate under Rule 4(f)(3) and Rule 4(h)(2). See

L.J. Star Inc., 2020 WL 1957155, at *4–6 (granting motion to serve via WhatsApp); cf. Short Form

Order at 2, Alzaabi v. Jaskon, No. 713360/2018 (NY Sup. Ct. Queens Cty. Nov. 19, 2018), Dkt. 7

(granting motion to serve via WhatsApp where “the parties were able to communicate successfully

via WhatsApp”).


24
   Royal Decrees are a primary source of law in Saudi Arabia. In fact, “no statutory laws or
regulations, treaties, international agreements or concessions may be enacted, concluded or
amended unless they are approved by Royal Decrees after having been studied, usually by both
the Council of Ministers and the Shura Council.” Alaoudh Decl. ¶ 5 n.3 (quoting Abdullah F.
Ansary, An Overview of the Saudi Arabian Legal System, GlobaLex §§ 4.2 & 4.3.11 (July/Aug.
2020), https://www.nyulawglobal.org/globalex/Saudi_Arabia1.html)).


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               B.     Service by Mail to Business Addresses.

       Plaintiff also proposes to serve each of the Alternative Service Defendants through

trackable mail. Given the lack of a systemic residential address system in Saudi Arabia, mail to

individuals in Saudi Arabia is routinely routed through a recipient’s place of employment.25 The

Alternative Service Defendants’ places of employment are publicly available, and serving process

at those addresses is reasonably calculated to provide notice. See, e.g., In re Coudert Bros. LLP,

No. 16-CV-8248 (KMK), 2020 WL 373838, at *2 (S.D.N.Y. Jan. 23, 2020) (granting alternative

service by FedEx to defendant’s email and work address “given that [defendant] is listed publicly

at the e-mail address and workplace that Plaintiff seeks to use for service”). Further, service at

Alternative Service Defendants’ place of employment minimizes offense to Saudi law because

Saudi law permits service of process at an individual’s place of employment, and this method of

service is common in Saudi Arabia. Alaoudh Decl. ¶ 8–10.26

               C.     While Service Through WhatsApp and Mail to Business Addresses is
                      Sufficient, The Court Could Also Order Supplemental Service Using
                      Additional Available Methods.

       Service through direct WhatsApp messages and mail to business addresses is sufficient to

satisfy due process and provide actual notice. However, if the Court wishes to supplement

Plaintiff’s proposed means of alternative service, additional methods are available.



25
  Dr. Saad proposes to serve Defendant bin Salman at Al Auja Palace, where he resides and holds
official meetings, as well as at the Royal Court. Dr. Saad has personally met with Defendant bin
Salman at these locations on multiple occasions. See infra Section III.A.i.
26
   Service upon an individual’s place of employment is common in Saudi Arabia because the
country does not have a well-developed system for residential addresses. Alaoudh Decl. ¶ 10. As
a result, residential addresses tend to be identified using more descriptive addresses, such as key
markers and signposts. Id. Because of the difficulty with locating addresses, delivery services
tend to rely on the individual’s place of employment and mobile phone number when making
deliveries. Id.


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     III.        The Proposed Alternative Service Methods Are Reasonably Calculated to
                 Provide Notice to Each Alternative Service Defendant.

        To facilitate the Court’s review of this Motion, in this section Dr. Saad outlines the

available service methods as to each Alternative Service Defendant.36

                 A.    Defendant bin Salman.

        Defendant bin Salman resides in Riyadh, Saudi Arabia at Al Auja Palace, from which he

has orchestrated and directed the attempted extrajudicial killing of Dr. Saad.

                       i.     Methods of Proposed Service

        Dr. Saad proposes serving Defendant bin Salman: (1) by WhatsApp message to his

personal WhatsApp account; and (2) by mail at his full-time place of residence at Al Auja Palace,

along with his business address at the Royal Court.




36
  Plaintiff will send both English and Arabic language versions of the summons, complaint, and
other required documents to each Alternative Service Defendant.

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        Defendant bin Salman communicates extensively through WhatsApp, and has engaged in

multiple lengthy—and threatening—exchanges with Dr. Saad using the platform. See, e.g.,

Compl. ¶ 133 (demanding Dr. Saad return to Saudi Arabia within “24 hours!”); id. ¶ 136

(threatening Dr. Saad that he would use “all available means” and personally “take legal measures,

as well as other measures that would be harmful to you”); id. (insisting that “we shall certainly

reach you”). It is publicly reported that Defendant bin Salman, like many Saudi officials, routinely

relies upon WhatsApp to conduct official business.37 Further, Plaintiff’s counsel has confirmed

Defendant bin Salman’s use of WhatsApp in the last 24 hours.

        Dr. Saad also proposes serving Defendant bin Salman by mail to Al Auja Palace and the

Royal Court. Defendant bin Salman resides at Al Auja Palace when he is in Riyadh, Saudi Arabia,

and regularly holds meetings there, including meetings described in the Complaint with Dr. Saad.38

See, e.g., Compl. ¶ 42. Defendant bin Salman also holds weekly meetings at the Royal Court, also

located in Riyadh, Saudi Arabia.

        These methods of service are consistent with methods of service approved in comparable

circumstances. See Order at 17, Hassen v. Nahyan, No. 2:09-CV-01106 (C.D. Cal. July 10, 2012),

ECF No. 96 (authorizing alternative service by mail, email, or facsimile on Sheikh Mohamed bin


37
    For example, Defendant bin Salman has communicated with White House officials and the
U.K. Prime Minister using WhatsApp. See, e.g., Brett Samuels, Kushner and Saudi Crown Prince
Communicated        Informally  on     WhatsApp:      Report,    Hill,   Oct.    17,   2018,
https://thehill.com/homenews/administration/411971-kushner-and-saudi-prince-communicated-
informally-on-whatsapp-report; Ben Riley-Smith & Christopher Hope, Boris Johnson
Communicated with Saudi Crown Prince on WhatsApp, Ex-UK Officials Say, Telegraph, Jan. 22,
2020, https://www.telegraph.co.uk/news/2020/01/22/boris-johnson-communicated-saudi-crown-
prince-whatsapp-ex-uk/.
38
  See also ‫[ ﺳﻤﻮ وﻟﻲ وﻟﻲ اﻟﻌﮭﺪ ﯾﺠﺘﻤﻊ ﺑﻨﺎﺋﺐ ﻗﺎﺋﺪ اﻷرﻛﺎن اﻟﺒﺮﯾﻄﺎﻧﻲ وﯾﺒﺤﺜﺎن اﻟﺠﮭﻮد ﻓﻲ ﻣﻮاﺟﮭﺔ اﻹرھﺎب‬Deputy Crown
Prince Meets with Vice-Chief of British Defense Staff and They Discuss Efforts to Combat
Terrorism],                            Jan.                               24,                           2016,
https://www.my.gov.sa/wps/portal/snp/pages/news/newsDetails/CONT-news-224012016/
(reporting on meeting held by Defendant bin Salman at Al Auja Palace).

                                                     18
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Zayed, the Crown Prince of Abu Dhabi, noting that if he could not be contacted at a personal

residence, there are other means to contact the “places where [Mohamed bin Zayed] conducts civic

and commercial activities”).

                     ii.       Supplemental Service Methods




              B.      Defendant MiSK Foundation.

       Defendant MiSK Foundation holds itself out as a non-profit foundation, incorporated in

Saudi Arabia, founded by Defendant bin Salman in his personal capacity. Compl. ¶ 55. Defendant

Alasaker is the Secretary-General (or Executive Director) of the MiSK Foundation. Id. MiSK has

served and continues to serve as a front for Defendant bin Salman and Defendant Alasaker’s




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initiatives to cultivate a network of agents willing to carry out sensitive operations, including the

hunting of Dr. Saad in the United States. Id. ¶ 56.

                       i.      Methods of Proposed Service

       Dr. Saad proposes serving Defendant MiSK Foundation: (1) by WhatsApp message to the

personal WhatsApp account of Defendant bin Salman, the founder of Defendant MiSK

Foundation; (2) by WhatsApp message to the personal WhatsApp account of Defendant Alasaker,

the Secretary-General of the MiSK Foundation; and (3) by mail to the MiSK Foundation’s address

in Saudi Arabia.

                      ii.      Supplemental Service Methods




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               C.      Defendant Alasaker.

       Defendant Alasaker is a Saudi national who serves as the head of Defendant bin Salman’s

private office and the Secretary-General (or Executive Director) of the MiSK Foundation. Compl.

¶ 38. Through those dual roles Defendant Alasaker has cultivated a network of covert agents

whom he has deployed to target individuals who undermine Defendant bin Salman in the United

States, including Dr. Saad. Id.

                      i.      Methods of Proposed Service

       Dr. Saad proposes serving Defendant Alasaker: (1) by WhatsApp message to his personal

WhatsApp account; (2) by Signal message to his personal Signal account; and (3) by mail to the

addresses of the MiSK Foundation and the Executive Office of Defendant bin Salman’s Personal

Office, which Defendant Alasaker lists as his employers on his verified Twitter account. Plaintiff’s

counsel has confirmed Defendant Alasaker’s use of WhatsApp in the last 24 hours. Counsel for

Dr. Saad also confirmed that Defendant Alasaker has a Signal account associated with his number.

                     ii.      Supplemental Service Methods




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               D.      Defendant Alqahtani.

       Defendant Alqahtani is a Saudi national who served as a top aide to Defendant bin Salman.

Compl. ¶ 44. Defendant Alqahtani played a supervisory role in the attempted extrajudicial killing

of Dr. Saad and was involved in overseeing the members of the Tiger Squad who were dispatched

to kill Dr. Saad. Id. ¶ 45.

                       i.     Methods of Proposed Service

       Dr. Saad proposes serving Defendant Alqahtani: (1) by WhatsApp message to his personal

WhatsApp account; (2) by Signal message to his personal Signal account; (3) by mail to his last-

known work address, at the Saudi Royal Court; and (4)

       Service through Defendant Alqahtani’s last known place of employment at the Saudi Royal

Court is reasonably calculated to provide notice to Defendant Alqahtani because he covertly

continues to be employed by the Royal Court despite losing his formal position after the killing of




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Jamal Khashoggi, in which he played a leadership role.41 After mounting pressure following the

international backlash surrounding Khashoggi’s killing, Defendant Alqahtani was purportedly

removed from his official position in October 2018, despite Defendant bin Salman’s reported

reluctance.42 But Defendant Alqahtani continues to function in effectively the same role today.43




                        ii.     Supplemental Service Methods




41
  See Martin Chulov, Saud al-Qahtani: Who is Fixer Cleared by Saudis over Khashoggi Murder?,
The Guardian, Dec. 23, 2019, https://www.theguardian.com/world/2019/dec/23/saud-al-qahtani-
saudi-fixer-khashoggi; Who Are Asiri, al-Qahtani Dismissed over Khashoggi’s Case, Egypt
Today, Oct, 20, 2018, https://www.egypttoday.com/Article/1/59255/Who-are-Asiri-al-Qahtani-
dismissed-over-Khashoggi%E2%80%99s-case.
42
     Chulov, Saud al-Qahtani, supra note 41.
43
     Id. Defendant Alqahtani also continues to maintain an official email account at the Royal Court.




                                                  23
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               E.     Defendant Alassiri.

       Defendant Alassiri is a close personal confidant and advisor to Defendant bin Salman.

Compl. ¶ 45. Defendant Alassiri played a supervisory role in the attempted extrajudicial killing

of Dr. Saad and was involved in overseeing the members of the Tiger Squad who traveled to kill

Dr. Saad. Id. ¶ 52.

                      i.     Methods of Proposed Service

       Dr. Saad proposes serving Defendant Alassiri: (1) by WhatsApp message to his personal

WhatsApp account; and (2) by mail to his last-known work address.

       Dr. Saad has directly communicated with Defendant Alassiri via WhatsApp. As is

customary amongst Saudi government officials, and based on Dr. Saad’s personal experience,

Defendant Alassiri uses WhatsApp to coordinate official meetings and to communicate about

substantive matters. Plaintiff’s counsel has confirmed Defendant Alassiri’s use of WhatsApp in

the last 24 hours.

       Service on Defendant Alassiri at his last place of employment, the General Intelligence

Presidency, through mail is reasonably calculated to provide Defendant Alassiri with notice

because he remains connected to the agency. Like Defendant Alqahtani, Defendant Alassiri was

publicly accused of involvement in the killing of Jamal Khashoggi.          After international

condemnation surrounding Khashoggi’s killing, Defendant Alassiri was purportedly terminated

from his government position and put on trial in Saudi Arabia, but he was acquitted in




                                              24
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2019.46 Defendant Alassiri continues to work for Defendant bin Salman through the General

Intelligence Presidency, albeit less visibly.47

                      ii.      Supplemental Service Methods




               F.      Defendant Alhamed.

       Defendant Alhamed is a Saudi national and founder and president of Saudi Elite Group

(“Saudi Elite”), a Saudi Arabia-based organization focused on promoting Defendant bin Salman’s

plan for economic and social reform. Compl. ¶ 63. At the direction of Defendants bin Salman and

Alasaker, Defendant Alhamed actively participated in the hunt inside the United States to locate

Dr. Saad. Id. ¶ 64.

       Defendant Alhamed’s last known residential address is in the United States, and Plaintiff

attempted to serve him there pursuant to Rule 4(e) on August 11, 2020. It appears Defendant

Alhamed has now departed the United States and resides in or around Riyadh, Saudi Arabia.48




46
   Marwa Rashad & Mark Hosenball, Saudi Arabia Sentences Five to Death over Khashoggi
Murder,     U.N.     Official     Decries    ‘Mockery’,     Reuters,     Dec.      23,    2019,
https://www.reuters.com/article/us-saudi-khashoggi/saudi-arabia-sentences-five-to-death-over-
khashoggi-murder-u-n-official-decries-mockery-idUSKBN1YR0SY.
47
  See IntelBrief: Rewarding Bad Behavior? Saudi Arabia and the G-20 Summit in Riyadh, Soufan
Ctr. (July 9, 2020), https://thesoufancenter.org/intelbrief-rewarding-bad-behavior-saudi-arabia-
and-the-g-20-summit-in-riyadh/.
48
    See Mohammed AlHamed (@M7Alhamed), Twitter (Feb. 15, 2020, 3:49 AM),
https://twitter.com/M7Alhamed/status/1228602202232541185 (tweeting photos of an event in
Saudi Arabia); Mohammed AlHamed (@M7Alhamed), Twitter (June 14, 2020, 10:35 AM),
https://twitter.com/M7Alhamed/status/1272175911543230466/photo/1 (tweeting a photo of a
street in Riyadh, Saudi Arabia).

                                                  25
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According to his Twitter profile, Defendant Alhamed is based in Washington, D.C. and Riyadh,

Saudi Arabia. Id.

                      i.     Methods of Proposed Service

       Dr. Saad proposes serving Defendant Alhamed: (1) by WhatsApp message to his personal

WhatsApp account; (2) by Signal message to Defendant Alhamed’s personal Signal account,

linked to the same mobile phone number; and (3) by mail to the address of his organization Saudi

Elite in Riyadh, Saudi Arabia. Defendant Alhamed has a WhatsApp account that identifies his

name and photograph in its profile, and Plaintiff’s counsel has confirmed Defendant Alhamed’s

use of WhatsApp in the last 24 hours. Defendant Alhamed is publicly identified as the President

and Founder of Saudi Elite, whose address in Saudi Arabia is publicly available.49

                     ii.     Supplemental Service Methods




49
   See Mohammed AlHamed, LinkedIn, https://www.linkedin.com/in/mohammed-alhamed-
930279140; About, Saudi Elite Group, LinkedIn, https://www.linkedin.com/company/saudi-elite-
organization/about/.




                                               26
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               G.     Tiger Squad Defendants.

        The “Tiger Squad” is a private death squad made up of approximately 50 intelligence,

military, and forensic operatives recruited from different branches of the Saudi government with

one unifying mission: loyalty to the personal whims of Defendant bin Salman. Compl. ¶ 72. The

five members of the Tiger Squad named in the Complaint—Defendants Alsaleh, Algasem,

Alhomid, Alsayed, and Alhaqbani (collectively, the “Tiger Squad Defendants”)—were assembled

to kill Dr. Saad and obtained tourist visas in May 2018 for the purpose of killing Dr. Saad, and

some of the Tiger Squad Defendants traveled on a mission in October 2018 to carry out that killing.

Id. ¶ 75.

                      i.      Methods of Proposed Service

        Dr. Saad proposes serving the Tiger Squad Defendants: (1) by WhatsApp messages to

each defendant’s personal WhatsApp account; and (2) by mail to their places of employment. Dr.

Saad further proposes serving Defendants Alhomid and Alsaleh by Signal messages to their

personal Signal accounts, linked to the same mobile phone numbers as their WhatsApp accounts.

        Contact and employment information for the Tiger Squad Defendants was obtained in

connection with their applications for travel to Canada, which was planned and carried out for the

purpose of killing Dr. Saad. This information was submitted by the Tiger Squad Defendants in

official government documents with an accompanying declaration that each question was

answered “fully and truthfully.”52 Plaintiff’s counsel has also confirmed that each of the Tiger


52
    Application for Visitor Visa (Temporary Resident Visa) at 5, Gov’t of Canada,
https://www.canada.ca/content/dam/ircc/migration/ircc/english/pdf/kits/forms/imm5257e.pdf.


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Squad Defendants have accessed their WhatsApp accounts within the last 24-30 hours of filing

this motion.53

                                        CONCLUSION

       Dr. Saad respectfully requests that the Court grant his motion for alternative service.

Dated: September 11, 2020                                    Respectfully submitted,

                                                             JENNER & BLOCK LLP

                                                             /s/ David Pressman

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